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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

ELIZABETH VAN DUYNE, and THE                      §
STATE OF TEXAS,                                   §
    Plaintiffs,                                   §
                                                  §
v.                                                §     CIVIL ACTION NO. 4:22-cv-00122-O
                                                  §
CENTERS FOR DISEASE CONTROL                       §
AND PREVENTION, ROCHELLE P.                       §
WALENSKY, in her official capacity as             §
Director of the CDC, SHERRI A. BERGER, §
in her official capacity as Chief of Staff of the §
CDC, UNITED STATES DEPARTMENT                     §
OF HEALTH AND HUMAN SERVICES,                     §
XAVIER BECERRA, in his official                   §
capacity as Secretary of HHS, and                 §
UNITED STATES OF AMERICA.                         §
       Defendants.                                §

                          PLAINTIFFS’ BRIEF IN RESPONSE TO
                            THE COURT’S ORDER (DOC. 17)

       On March 24, 2022, the Court ordered the parties to file cross briefs concerning whether

this case should be consolidated with Family Research Council Action, Inc. v. Biden, No. 4:22-cv-

209 (hereafter, “FRC Case”), under Federal Rule of Civil Procedure 42. (Doc. 17). Plaintiffs

Elizabeth Van Duyne and the State of Texas urge the Court not to consolidate the cases because

each case presents unique legal challenges to the federal government’s masking requirements.

Additionally, the FRC Case will require much more factual development while this case will have

almost none.

                    MEMORANDUM OF POINTS AND AUTHORITIES

       The Court should not consolidate this case with the FRC Case. Under Federal Rule of Civil

Procedure 42, a trial court may consolidate cases before the court that involve common questions

of law or fact. Consolidation is “used to expedite trial and eliminate unnecessary repetition and
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confusion.” Miller v. USPS, 729 F.2d 1033, 1036 (5th Cir. 1984). District courts have “substantial

discretion in deciding whether and to what extent to consolidate cases.” Hall v. Hall, 138 S. Ct.

1118, 1131 (2018). Because of this discretion, the Fifth Circuit has largely allowed district courts

to develop multi-factor tests from the seminal case Frazier v. Garrison I.S.D., 980 F.2d 1514 (5th

Cir. 1993). Courts have phrased these factors in different ways, but generally the factors include:

“(1) whether the actions are pending before the same court; (2) whether the actions involve a

common party; (3) any risk of prejudice or confusion from consolidation; (4) the risk of

inconsistent adjudications of common factual or legal questions if the matters are tried separately;

(5) whether consolidation will reduce the time and cost of trying the cases separately; and (6)

whether the cases are at the same stage of preparation for trial.” Tanzy v. Wolf, 2020 U.S. Dist.

LEXIS 258813 (N.D. Tex. Dec. 23, 2020) (quoting RTIC Drinkware, LLC v. YETI Coolers, LLC,

2017 U.S. Dist. LEXIS 222938, at *2 (W.D. Tex. Jan. 18, 2017)). 1

        In considering whether to consolidate cases the “threshold inquiry is whether the two cases

involve common questions of law or fact.” Marusak v. Sema Constr., 2021 U.S. Dist. LEXIS

230922, at *8 (N.D. Tex. Nov. 15, 2021) (citing Fed. R. Civ. P. 42(a) and RTIC Drinkware, 2017

U.S. Dist. LEXIS 222938, at *2). The cases here do not meet this threshold question; but even if

they did, consolidation would not further Rule 42(a)’s goal of eliminating unnecessary repetition

and confusion. Further, consolidation would prejudice Plaintiffs and cause unnecessary delay in

their case.




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       Other courts within the Fifth Circuit have described an eight-factor test, but the
considerations are substantially the same. See, e.g., Webb v. SE Grocers, 2022 U.S. Dist. LEXIS
35446, at *6 (S.D. Miss. March 1, 2022)


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I.      The cases do not involve common questions of law or fact.

        This case and the FRC Case do not meet the threshold question of presenting common

questions of law or fact because the two cases present different legal theories, challenge different

federal government orders, and involve different defendants. Additionally, this case needs no

factual resolution by the Court, while the FRC Case is almost entirely a factual dispute. This

distinction alone is enough to make consolidation inappropriate. See Frazier, 980 F.2d 1514, 1532

(5th Cir. 1993) (noting consolidation would not serve judicial economy when one case has “no

triable issues of fact pending before the trial court”).

        This case is a purely legal challenge to the CDC’s Requirement for Persons to Wear Masks

While on Conveyances and at Transportation Hubs, 86 Fed. Reg. 8025 (Feb. 3, 2021) (the “CDC’s

Mask Mandate”). It alleges that the CDC is acting without statutory authorization because the

statute it relies on, 42 U.S.C. § 264(a), does not authorize the CDC Mask Mandate, or, if it does,

it violates the nondelegation doctrine under Article I, Sec. 1 of the United States Constitution.

(Doc. 1). At its core, this case is a statutory interpretation case concerning one statute and one rule

that was purportedly promulgated under that statute. It is not a case about facts in dispute or

whether masking on planes is sound policy. Indeed, Plaintiffs and Defendants agree that the

material facts are not in dispute and the case is at an appropriate stage for briefing on summary

judgment. (Docs. 18-22). Lacking further issues of triable fact, it would not be appropriate to

consolidate this case with the FRC Case.

        The FRC Case, on the other hand, is almost entirely a factual challenge. It challenges

Executive Order 13998 as arbitrary and capricious. (FRC Case, Doc. 1). In Executive Order 13998,

President Biden directed the Departments of Transportation, Health and Human Services, and

Homeland Security to mandate wearing of masks while traveling. (FRC Case, Doc. 1). This




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resulted in orders from the Transportation Security Administration and the CDC. (Id.). The FRC

Case plaintiffs argue Executive Order 13998 and the orders resulting from it are unreasonable.

(Id.). Specifically, they raise that those defendants did not consider natural immunity, have not

updated the agency actions to reflect emerging medical science, and ignored their own study

showing miniscule risk of contracting COVID-19 on a commercial aircraft. (Id.). These are all

factual considerations that may require delving into the administrative record, but those issues are

irrelevant to this case.

      When an agency action is challenged as arbitrary and capricious, a court “focuses on whether

an agency articulated a rational connection between the facts found and the decision made.”

ExxonMobil Pipeline Co. v. United States DOT, 867 F.3d 564, 571 (5th Cir. 2017). Consolidation

is not appropriate “in light of obvious, at least at first blush, factual differences.” Varnado v.

LeBlanc, 2016 U.S. Dist. LEXIS 8161 (M.D. La. Jan. 22, 2016). The FRC Case’s arbitrary-and-

capricious challenge is an obvious factual difference between the cases.

II.      There is no risk of unnecessary repetition or confusion without consolidation.

         Further, there is no risk of unnecessary repetition or confusion if the Court does not

consolidate the cases here. If anything, consolidation could delay both cases, rather than expedite

them, and unnecessarily complicate both proceedings. If Plaintiffs are successful in their legal

challenge in this case, it would moot the FRC Case, as the CDC’s Mask Mandate would be set

aside. Additionally, as discussed above, the cases are at different stages of preparedness for

resolution. Consolidation would bog down this case in irrelevant factual disputes and discovery,

as well as make the record less manageable than necessary if either party appeals.

         There are also different parties involved in the two cases. The parties in this case include

two plaintiffs, Elizabeth Van Duyne and the State of Texas, and seven defendants. (Doc. 1). All




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seven defendants are responsible for carrying out the CDC’s Mask Mandate. In the FRC Case,

which has an entirely different slate of five plaintiffs, there are over twice as many defendants,

including agencies and government officials that have nothing to do with the CDC’s Mask

Mandate. Those include the Department of Transportation (and its Secretary), the Federal Aviation

Administration (and its Administrator), the Department of Homeland Security (and its Secretary).

(FRC Case, Doc. 1). If the cases are consolidated, there will be many motions and discovery issues

that will be irrelevant to Plaintiffs and only relevant to certain defendants, “which may cause

unnecessary delays for the unaffected parties.” Grigsby v. I-Flow Corp., 264 F.R.D. 265, 266 (E.D.

Ky. 2009); see also Texas v. United States, 2021 U.S. Dist. LEXIS 139500, at *8-9 (S.D. Tex. July

26, 2021) (“appreciable differences” between defendants in addition to different plaintiffs weighed

against consolidation). Consolidating the cases would only cause confusion and create more

difficulty for Plaintiffs to prosecute their case and complicate the record if any party appeals.

       The parties in this case have agreed this case can be resolved on summary judgment. (Docs.

18-22). “Consolidation may properly be denied in instances where the cases are at different stages

of preparedness for trial.” Mills v. Beech Aircraft Corp., 886 F.2d 758, 762 (5th Cir. 1989) (quoting

St. Bernard General Hospital, Inc. v. Hospital Service Association of New Orleans, Inc., 712 F.2d

978, 990 (5th Cir. 1983)). Delaying this case so that plaintiffs in the FRC Case can conduct

discovery, present their evidence, have it rebutted by the defendants in that case does nothing to

reduce the total time plaintiffs are awaiting resolution of their cases. It slows down the proceedings

in this case, while not expediting the proceedings in the FRC Case.

       Because the challenges here are different in kind, there is nothing to gain from

consolidating the cases and there will be no repetition of arguments or evidence. Cf. Goodridge v.

Hewlett-Packard Co., 2008 U.S. Dist. LEXIS 136832 (S.D. Tex. June 25, 2008) (“[E]ach action




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raises sufficiently distinct claims such that each will involve a separate and distinct fact inquiry.

Thus, consolidation will not ‘avoid unnecessary costs or delay.’” (Quoting Fed. R. Civ. P. 42(a)).

Plaintiffs in this case will still need their statutory and constitutional challenges resolved on the

merits, and plaintiffs in the FRC Case will need their factual objections to the federal government’s

agency action resolved. Further, this is not a case where consolidation would have the benefit of

putting both disputes in front of the same judge, see Troupe v. Barbour, No. 3:10-CV-153-HTW-

MTP, 2016 U.S. Dist. LEXIS 189218, at *8-9 (S.D. Miss. Dec. 6, 2016), as that is already the

situation. Without meaningful overlap in legal or factual challenges, consolidation would not

eliminate repetition of issues or costs.

III.   Plaintiff Van Duyne would be prejudiced by unnecessary delay if the cases were
       consolidated and there is no risk of inconsistent adjudications.

       Plaintiff Van Duyne currently has a motion for a preliminary injunction fully briefed, and

Plaintiffs have asked the Court to convert it to a motion for summary judgment and order the

Defendants to respond on the merits. (Doc. 18, 22). Consolidation will result in further delay if

Plaintiffs are required to wait for further briefing (and likely lengthy discovery) from other

plaintiffs or defendants. See Texas, 2021 U.S. Dist. LEXIS 139500, AT *12-15 (a plaintiff with a

fully briefed motion for preliminary injunction would be prejudiced by consolidation that would

require additional briefing).

       Defendants in this case have repeatedly extended masking requirements for airline

passengers with expiration dates that were always only a few months away. In their most recent

filing, they alluded once again to the possibility that CDC guidance will result in the Mask Mandate

being rescinded. (Doc. 19, at 5). Any delay allows Defendants to continue to offer the false hope

that the end of masking is just around the corner. The Court should at least give Plaintiffs a chance

to get their case resolved and not let Defendants continue to move the goal posts on travelers and



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employees. Consolidation and further development of factual issues delays the resolution of her

wholly separate legal claims. Further, there is no risk of inconsistent adjudications, as each case

raises very different claims.

                                        CONCLUSION

       The cases should not be consolidated. The factors weigh against consolidation because

there are not common questions of law and fact between the cases. Additionally, consolidation

will not enhance efficiency or avoid the danger of inconsistent adjudications, and it prejudices

Plaintiffs by further delaying resolution of their case. The Court should not consolidate this case

with Family Research Council Action, Inc. v. Biden, No. 4:22-cv-209.

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2022, I electronically filed the foregoing with the Clerk of

the Court for the Northern District of Texas by using the CM/ECF system, which will serve a copy

of same on all counsel of record.


                                              /s/Matthew Miller
                                              MATTHEW MILLER




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